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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ORCA SECURITY LTD.,                     )
                                        )
                    Plaintiff,          )
                                        )
             v.                         )      C.A. No. 23-758 (JLH)
                                        )
WIZ, INC.,                              )
                                        )
                    Defendant.          )

   ORCA SECURITY LTD.’S OPENING BRIEF IN SUPPORT OF ITS MOTION TO
            DISMISS WIZ, INC.’S COUNTERCLAIM COUNT IV
                     UNDER FED. R. CIV. P. 12(b)(6)

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I.      NATURE AND STAGE OF PROCEEDINGS

                Plaintiff and Counterclaim-Defendant Orca Security Ltd. (“Orca”) alleges that

Defendant and Counterclaim-Plaintiff Wiz, Inc. (“Wiz”) infringes six patents:            U.S. Patent

Nos. 11,663,031, 11,663,032, 11,693,685, 11,726,809, 11,740,926, and 11,775,326. D.I. 15

(Second Amended Complaint). On November 21, 2023, Wiz filed a Motion to Dismiss Orca’s

claims of indirect and willful infringement (D.I. 17, 18), which the Court denied on May 21, 2024.

D.I. 65. On June 4, 2024, Wiz filed counterclaims, alleging that Orca infringes U.S. Patent

Nos. 11,722,554, 11,929,896, 11,936,693, 12,001,549 (“’549 patent”), and 12,003,529. D.I. 70

at 37-147 (“CC”). Orca now moves to dismiss Counterclaim Count IV (CC ¶¶ 89-108) under

Rule 12(b)(6) because the ’549 patent lacks patent-eligible subject matter under 35 U.S.C. § 101

and Alice Corp. v. CLS Bank International, 573 U.S. 208 (2014).

II.     SUMMARY OF THE ARGUMENT

                1.      The Court should hold that Wiz’s ’549 patent claims (asserted in

Counterclaim Count IV) are ineligible for patent protection under § 101 and grant Orca’s motion

to dismiss with prejudice. In Alice, the Supreme Court set forth its two-step test for determining

whether computer implemented patent claims are eligible under § 101, which is a threshold

requirement for any patent suit. Under Alice, computer implemented claims are ineligible if they

(i) are directed to an abstract idea and (ii) add nothing inventive to that abstract idea. Wiz’s ’549

patent claims fail that test.

                2.      At Alice step one, the claims are directed to the abstract idea of retrieving,

contextualizing, querying, and responding to cybersecurity threat information. The ’549 patent

addresses a human problem: “an operator will often receive an alert [about a cybersecurity threat]

that lacks context” and “does not … indicate what, if at all, should be done” to respond. ’549 patent
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at 1:51-56. The purported solution is to use existing computer technology—including natural

language processing techniques such as a “large language model,” or “LLM”—to generate

additional context and thereby make it easier to respond. Indeed, Wiz itself alleges that humans

can be involved in every single step of the claims—a key indication of abstraction. That the claims

also recite using existing computer technology does not make them less abstract.

               3.      At Alice step two, the claims add no inventive concept beyond the abstract

idea. Indeed, the specification expressly acknowledges that the claims can be implemented using

well-known large language models—like OpenAI’s ChatGPT, or Google’s BERT. See, e.g.,

’549 patent at 16:25-26, 10:14-40. The remaining steps, by admission, can be implemented on

generic computer components, such as “general-purpose microprocessors” or “any other hardware

logic components that can perform calculations.” Id. at 17:59-18:3; see also, e.g., id. at 18:43-45.

               4.      The Federal Circuit has held similar, or even more technological-seeming,

claims ineligible as a matter of law, including claims for identifying and responding to risky emails

in Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d 1307 (Fed. Cir. 2016) (“Symantec”);

implementing graphical object-oriented programming in Simio, LLC v. FlexSim Software

Products, Inc., 983 F.3d 1353 (Fed. Cir. 2020) (ineligible claims), analyzing and presenting

relevant information in IBM Corp. v. Zillow Group, 50 F.4th 1371 (Fed. Cir. 2022), and

implementing a database structure with contextual information in BSG Tech LLC v. Buyseasons,

Inc., 899 F.3d 1281 (Fed. Cir. 2018). Wiz’s ’549 patent claims are likewise ineligible as a matter

of law and its Counterclaim IV (CC ¶¶ 89-108) should be dismissed with prejudice.




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III.   STATEMENT OF FACTS

       A.      The ’549 Patent

               Wiz filed the ’549 patent application on January 31, 2024, five months after Orca

brought this suit against Wiz. The patent issued on June 4, 2024, and Wiz asserted it against Orca

that day.

               1.      The ’549 Patent Specification

               The ’549 patent specification states that it “relates generally to cybersecurity

incident response and specifically to initiating mitigation actions in response to detected

cybersecurity threats.” ’549 patent at 1:16-18. The patent explains that in typical “cybersecurity

solutions,” an “operator” (i.e., a human) would “receive an alert” (an “incident”) about a

cybersecurity threat (e.g., a message stating that a system has been accessed without authorization)

and then query a database or other “structured data” to determine how to respond. See id. at 1:22-

56. But the patent states this process is “not always human-friendly” because it “requires a human

to learn a special query language which the machine uses to retrieve and store data.” Id. at 1:31-

37. Accordingly, the patent explains that a human can instead use existing techniques to generate

natural language “prompts” for known “large language models” (LLMs), to “provide[] accurate

translation between a query received in natural language and a database query, in order to provide

a user with a relevant result to their query.” Id. at 10:14-28; see id. at 1:39-43.

               However, according to the patent, the problem was “a lack of context”: “an operator

will often receive an alert that lacks context” and “does not provide a root cause, or indicate what,

if at all, should be done to remediate, mitigate, and the like.” Id. at 1:51-56. Then, lacking relevant

context, if the operator inputs an ambiguous natural language query (e.g., “what is jay?”), the

computer has no way of discerning between different possible meanings and, accordingly, the




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resulting computer database query will not necessarily produce useful results. Id. at 1:44-49. The

patent’s purported solution, therefore, is to supply additional context so that, when the operator

inputs a natural language query (which is converted to a database query) to look up next steps, the

resulting information will be more useful. See, e.g., id. at 1:44-58, 2:60-65.

               The specification acknowledges that no new computer technology is required.

Instead, the patent states that the steps require only generic “hardware, firmware, software, or any

combination thereof,” id. at 18:43-45—for example, “general-purpose microprocessors” or “any

other hardware logic components that can perform calculations,” id. at 17:59-18:3. At the outset,

the purported invention does not describe any new way of identifying security threats; rather, it

receives already-identified security information (“incidents”) and facilitates the user obtaining

additional context to employ in querying a database for potential responses. And the patent

acknowledges that this requires only well-known large language models such as OpenAI’s

ChatGPT, or Google’s BERT, see, e.g., ’549 patent at 16:25-26 (“A large language model is, for

example, GPT, BERT, and the like.”), 10:14-40 (same), and existing tools to convert natural

language queries to database queries, see id. at 12:13-17 (“natural language processing (NLP)

techniques” include known “distance-based Word2Vec”), 1:38-43. Moreover, the patent states

that humans are integral in the purported solution. For example, the user can retrieve additional

context by providing input to match the incident to unspecified “predefined scenarios.” Id.

At 15:27-40, 16:2, Fig. 6.

               In sum, the patent acknowledges that its advance is supplying additional context or

“structure” for natural language database queries (see id. at 10:10-13, 1:26-37)—not a new tool or

feature for identifying a security threat, querying a database, or implementing a response. To

facilitate a user’s natural language queries, the patent describes using conventional techniques,




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including large language models, to generate the structured database queries (id. at 10:20-28,

12:46-52), and using conventional database technology, such as SQL, to store and retrieve the

data. Id. at 1:30-37. The result of an executed database query can be “provided to … a user,” who

can initiate mitigation actions. Id. at 11:30-39, 17:14-21. The patent does not purport to invent or

improve such technologies; it merely uses them.

                  2.     The ’549 Patent Claims

                  The ’549 patent’s claims likewise recite no specific technological advances, instead

applying conventional LLM technology to common human activity. Each of the three independent

claims (claims 1, 11, and 12) recites basic steps for “providing [a] cybersecurity incident response”

by (1) receiving cybersecurity threat information (“an incident”), (2) contextualizing the

information using an LLM, (3) querying a cybersecurity database using that context, and

(4) initiating a mitigation action. That is, the claims recite receiving, determining, querying, and

responding to cybersecurity information. Claim 1—the only independent claim Wiz asserts—is

representative:

           1. A method for providing cybersecurity incident response, comprising:
           receiving an incident input based on a cybersecurity event;
           generating a prompt for a large language model (LLM) based on the received
              incident input;
           configuring the LLM to generate an output based on the generated prompt;
           mapping the received incident input into a scenario of a plurality of scenarios based
              on the output of the LLM, wherein each scenario is associated with an incident
              response;
           generating a query based on the received incident input and the mapped scenario;
           executing the query on a security database, the security database including a
              representation of a computing environment;
           initiating a mitigation action based on a result of the executed query.




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               The other two independent claims are materially the same, except they recite a

“computer-readable medium” (claim 11) and “system” (claim 12) for performing the same

computer functions, with additional generic hardware limitations. The dependent claims recite

incidental limitations, including types of incident inputs (claim 2), LLM usage (claims 3, 4, 5,

and 7), user interface activity (claims 6, 8, and 10), and database storage (claim 9). Infra at 13-14,

17-18. Dependent claims 13-21 recite the same limitations as claims 2-10.

IV.    LEGAL STANDARDS

       A.      Motions To Dismiss Under Rule 12(b)(6)

               Patent eligibility under § 101 is a threshold issue that “may be, and frequently has

been, resolved on a Rule 12(b)(6)” motion, before formal claim construction or fact development,

where there are no relevant factual disputes. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166

(Fed. Cir. 2018); see, e.g., AI Visualize, Inc. v. Nuance Commc’ns, Inc., 97 F.4th 1371, 1377 (Fed.

Cir. 2024) (affirming Rule 12(b)(6) dismissal); Beteiro, LLC v. DraftKings Inc., 104 F.4th 1350,

1358 (Fed. Cir. 2024) (same); Sanderling Mgmt. Ltd. v. Snap Inc., 65 F.4th 698, 705 (Fed. Cir.

2023) (same). The Court accepts well-pleaded factual allegations but “disregard[s] rote recitals of

the elements of a cause of action, legal conclusions, and mere conclusory statements.” James v.

City of Wilkes-Barre, 700 F.3d 675, 679 (3d Cir. 2012) (citations omitted). And “‘generalized

assertions that factual considerations about the state of the art preclude a decision at the pleadings

stage’ do not prevent a district court from granting a motion to dismiss.” Beteiro, 104 F.4th at 1358

(citation omitted).

       B.      Patent Eligibility Under 35 U.S.C. § 101

               Section 101 delineates the categories of patent eligible subject matter, and “contains

an important implicit exception” for abstract ideas—such as mental processes, human activities,




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or basic computerized steps—which are ineligible. Alice, 573 U.S. at 216 (citation omitted). The

two-step Alice framework governs whether computer-based claims are ineligible. Id. at 217-27.

               At step one, the Court determines whether the asserted claims are, at root, directed

to an abstract idea notwithstanding the recitation of any computer features. Id. at 218. If so, at

step two, the Court determines whether the other claim elements, individually or collectively, add

“significantly more”—i.e., an “inventive concept”—apart from the abstract idea. Id. at 217-22.

The claims cannot “simply … implement the abstract idea … on a generic computer.” Id. at 225.

If claims add nothing inventive at step two, they are ineligible under § 101 as a matter of law. Id.

               At both steps, the eligible subject matter cannot stem from the abstract idea itself.

See Simio, 983 F.3d at 1365. Automating an idea in a “particular technological environment” with

conventional computer technology does not make claims “less abstract” and contributes nothing

inventive. Symantec, 838 F.3d at 1314 (citation omitted). Nor may claims simply recite “generic

functional language to achieve [the] purported solutions” without claiming “how the desired result

is achieved.” Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1339 (Fed.

Cir. 2017) (citation omitted). Indeed, “[c]laims of this nature are almost always found to be

ineligible” under § 101. Beteiro, 104 F.4th at 1356.

V.     ARGUMENT

               Wiz’s ’549 patent claims are ineligible under § 101 and Alice because they are

directed to an abstract idea and add nothing inventive.

       A.      Alice Step One: The Claims Are Directed to An Abstract Idea

               The claims of the ’549 patent are directed to the abstract idea of retrieving,

contextualizing, querying, and responding to cybersecurity threat information—activities that

humans can perform.




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                1.       The Independent Claims are Directed to An Abstract Idea

                The independent claims recite that abstract idea as a series of basic steps. Claim 1

of the ’549 patent (which is representative) recites “a method for providing cybersecurity incident

response” by:        (1) “receiving” information about a cybersecurity threat (“an incident”);

(2) determining relevant context by using existing LLMs (i.e., generating a prompt for an LLM

based on the incident and using the LLM’s output to “map[]” the incident to a “scenario”);

(3) querying a cybersecurity database using that incident/scenario context (i.e., generating and

executing a query on a security database that includes “a representation of a computing

environment”); and (4) “initiating a mitigation action based on a result of the executed query.”

’549 patent cl. 1. Independent claims 11 and 12 are the same but are couched as a computer

“medium” and “system” for performing the same steps, which does not change the analysis. See

Alice, 573 U.S. at 226 (ineligible system and software claims “no different from the method claims

in substance”). Therefore, all independent claims focus on retrieving, contextualizing, querying,

and responding to cybersecurity threat information. The specification confirms those steps are the

purported advance. See, e.g., ’549 patent at 1:16-18, 1:22-43, 1:51-58; see also ChargePoint, Inc.

v. SemaConnect, Inc., 920 F.3d 759, 774 (Fed. Cir. 2019) (specification is useful in identifying

purported advance); CC ¶¶ 10, 90-92. The claims are directed to an abstract idea for three reasons.

                First, the claims are directed to a human problem and provide a solution that

automates human activities—a “telltale sign of abstraction.” Trinity Info Media, LLC v. Covalent,

Inc., 72 F.4th 1355, 1361 (Fed. Cir. 2023) (citation omitted); see also, e.g., PersonalWeb Techs.

LLC v. Google LLC, 8 F.4th 1310, 1318 (Fed. Cir. 2021) (“mere automation of manual processes

using generic computers … fails step one”) (citation omitted); Univ. of Fla. Rsch. Found., Inc. v.

Gen. Elec. Co., 916 F.3d 1363, 1367 (Fed. Cir. 2019) (similar). As the specification describes,

generating database queries was not “human-friendly” and that, although existing natural language


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processing techniques allowed users to translate natural language into machine language queries,

they often lacked relevant context and thus failed to produce relevant responses. Supra at 3. In

turn, the patent’s purported solution is using generic computers and well-known LLMs to generate

relevant context for natural language queries of a cybersecurity database, so that the human

operator receives more relevant information to better respond to an incident. Supra at 3-4.

Therefore, because the claims are rooted in human problems and activities, they are abstract.

               The patentee’s own statements support that conclusion. The ’549 patent admits

that human activity and input is integral to the claim steps: users (humans) can: (1) receive

cybersecurity threat information, see ’549 patent at 1:51-52, 7:30-37; (2) provide input for a natural

language query, id. at 11:45-47, 12:53-55, “scenario” selections, id. at 2:44-45, 2:48-49, 3:52-56,

3:59-61, 4:56-63, 6:11-19, 15:22-40, and “generating a prompt” for the LLM, id. at 2:49-50; see

also id. at 2:52-54, 3:62-66, 4:64-66, 5:5-7, 6:19-23, 6:35-37; (3) query the database, id. at 10:14-

19; and (4) initiate a response, see id. at 17:15-21, 1:51-56. Likewise, Wiz’s counterclaim

confirms that human activity is integral to the claim steps: Wiz’s allegations depend at every turn

on human activities and input. See CC ¶¶ 96-104 (Counterclaim Count IV: alleging infringement

based on user receiving human-readable alerts; user actions in generating prompts, configuring an

LLM by clicking a “toggle” button, mapping scenarios, generating and executing a database query

by “click[ing]”; and “allowing users to take remedial steps based on the query results”). By the

patentee’s own admissions, therefore, human activity is integral to the claim limitations. And

automating such steps that involve, or are akin to, human activity does not make the claims “any

less abstract.” Symantec, 838 F.3d at 1319.

               The Federal Circuit has found abstract and ineligible similar claims involving

human-performable concepts for processing and responding to data. For example, in Symantec,




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the claims provided a computer network system for identifying undesirable or risky electronic

messages (e.g., spam or viruses) based on their data attributes and taking actions accordingly.

838 F.3d at 1316-17. The claims recited various computer components for performing those steps,

including a “receipt mechanism,” a database of rules, a “rule engine,” and a “distribution

mechanism.” Id. at 1317. The court held the claims were akin to a “method of organizing human

activity” in a corporate mailroom and thus abstract at step one. Id. at 1318; see also id. at 1313-

16, 1319-20 (holding other computer and security claims abstract). In PersonalWeb, the computer

claims recited content-based data processing systems that analyzed data attributes using hash

functions and took actions based on those attributes, such as allowing or denying access to the

data. 8 F.4th at 1316. The court held that the claim steps were akin to mental concepts performable

“using a pencil and paper” and thus abstract. Id. at 1316 (citation omitted); see also Trinity,

72 F.4th at 1362 (computer claims directed to the abstract idea of “matching based on questioning”

because “[a] human mind” could perform similar activities); FairWarning IP, LLC v. Iatric Sys.,

Inc., 839 F.3d 1089, 1097 (Fed. Cir. 2016) (claims for identifying suspicious activity in sensitive

medical file); Ericsson Inc. v. TCL Comm’n Tech. Holdings Ltd., 955 F.3d 1317, 1326 (Fed. Cir.

2020) (claims for controlling software access). Here, the claims similarly recite steps that are akin

to human activities—retrieving, contextualizing, querying, and responding to threat information—

and are, therefore, abstract.

                In addition, the Federal Circuit has held that making the user more efficient—for

example, alleviating the need for technical programming knowledge (in Simio) or providing more

relevant data (in IBM and other cases)—indicates an abstract idea rather than a patent-eligible

technological advance. See Simio, 983 F.3d at 1356 (ineligible claims for “making object-oriented

simulation easier” without software programming knowledge); IBM, 50 F.4th at 1378 (ineligible




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claims for providing “‘humanly comprehensible’ amount of information useful for users”) (citation

omitted); Chewy, Inc. v. IBM Corp., 94 F.4th 1354, 1366-67 (Fed. Cir. 2024) (ineligible claims for

providing relevant search results); Trading Techs. Int’l, Inc. v. IBG LLC, 921 F.3d 1084, 1089,

1093 (Fed. Cir. 2019) (ineligible claims for “assembling data from various sources and processing

that data effectively” merely “assist[ed] traders,” not improved technology). Likewise, the ’549

patent—which purports to improve the “not always human-friendly” process of querying databases

by generating additional context to produce more useful results (’549 patent at 1:22-43)—is

abstract.

               Second, the claims recite basic computerized steps for collecting, analyzing, and

presenting information (including from various databases) recited “at a high level of generality”—

without any explanation of how the system accomplishes its goals—which the Federal Circuit has

held abstract. See AI Visualize, 97 F.4th at 1378 (“[T]he steps of obtaining, manipulating, and

displaying data, particularly when claimed at a high level of generality, are abstract concepts”

(citing Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016) (collecting

cases))); RecogniCorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322, 1326 (Fed. Cir. 2017)

(“generalized steps to be performed on a computer using conventional computer activity are

abstract” (cleaned up) (citations omitted)); Two-Way Media, 874 F.3d at 1339 (functional steps are

abstract).

               For example, in Universal Secure Registry LLC v. Apple Inc., 10 F.4th 1342, 1350

(Fed. Cir. 2021), the ineligible claims recited generic (albeit long) computerized steps for

collecting user information and using it to allow or disallow transactions “to mitigate information

security risks”—using steps such as “receiving,” “mapping,” “determining,” and “accessing”

information.   The court held that the claims lacked “sufficient specificity to constitute an




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improvement to computer functionality itself.” Id. at 1346. Likewise, here, Wiz’s claims—

reciting similar generic steps aimed at “mitigat[ing] information security risks”—are abstract at

step one. See id. at 1346, 1350. That Wiz’s claims involve cybersecurity information does not

make them non-abstract. See FairWarning, 839 F.3d at 1097 (reciting “content or source” of

information is still abstract).

                Third, the claims do not purport to provide any specific improvement to computer

technology itself. The claims rely on admittedly “generic” and non-specialized hardware and an

existing language model. ’549 patent at 17:59-18:37; supra at 3-4. At most, the claims employ

such existing technology to automate the “not always human-friendly” process of creating relevant

queries to retrieve useful cybersecurity information. See ’549 patent at 1:22-43; supra at 3-4. But

a “software brain” that “improve[s] speed or efficiency” does not make the claims non-abstract.

Intell. Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363, 1367, 1371 (Fed. Cir. 2015)

(“Capital One”) (internal quotes omitted).

                The Federal Circuit’s decision in BSG is also instructive. 899 F.3d at 1283. There,

the patents recited a purportedly improved way for contextualizing database information, guiding

the user to input classifications and parameters in performing database queries. Id. This “self-

evolving” index for organizing database information allowed users to “more finely control their

searches for particular data entries by using parameters and values to limit search results.” Id.

at 1283-84. But the court found that the claims were “directed to the abstract idea of considering

historical usage information while inputting data” as they required only generic computer

processes—the patentee did “not purport to have invented database structures that allow database

users to input data as a series of parameters and values” and “the recitation of a database structure

slightly more detailed than a generic database [did] not save the asserted claims.” Id. at 1286-87.




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               Similarly, here, Wiz’s claims, focused on permitting users to more finely access

content to inform further action, are directed to abstract ideas and “computers are invoked merely

as a tool.” Id. at 1286 (citation omitted). Indeed, Wiz “does not purport to have invented” any

new “database structures,” natural language processing techniques, or LLMs. See id. Nor can

Wiz reasonably deny that its claimed LLMs are known structures. Indeed, Wiz’s own specification

“makes clear that such [LLMs] predate the invention.” Id.; see ’549 patent at 16:25-26, 10:14-40.

And the LLM, at most, “similarly provides a generic environment in which the claimed method is

performed.” BSG, 899 F.3d at 1286-87.1

               The independent claims are directed to the abstract idea of retrieving,

contextualizing, querying, and responding to cybersecurity threat information.

               2.     The Dependent Claims Are Equally Abstract

               The dependent claims are focused on the same abstract idea, adding incidental

limitations.

               First, the dependent claims predominantly recite the type or source of the

information that is input to or output from the process. Claim 2 recites the general content of the

“incident input”—“any one of: a query [and/or] a statement.” Claims 3 and 5 recite generic data

source for training the LLM—“any one of: a data schema … representing the computer

environment, incident data [for] a scenario, [and/or] the plurality of scenarios” (claim 3) and

queries from a security database (claim 5). Claims 6, 7, and 9-10 recite output content: sub-

scenarios (claims 6-7) and a “cybersecurity finding” (claims 9-10). Claims 4 and 8 recite more of




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       Thus, the claims are unlike the type of “specific … improvement[s] in computer
capabilities”—particular solutions to technological problems—that are eligible at step one. See
Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1336 (Fed. Cir. 2016) (improved database
technology).


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the same: “generating a second prompt for the LLM” (claim 4) and receiving “additional

contextual information” about an incident (claim 8).

               However, reciting the “type” or “source” of information does not make claims non-

abstract. See FairWarning, 839 F.3d at 1097 (“selecting information, by content or source, for

collection, analysis, and [display] does nothing significant to differentiate a process from ordinary

mental processes”); Elec. Pwr., 830 F.3d at 1353 (“limit[ing] [information] to particular content

… does not change its character as information,” which “is an intangible”) (citations omitted).

Indeed, data collection and output amounts to mere data gathering and extra-solution activity,

which is abstract. See, e.g., OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359 (Fed. Cir. 2015).

               Second, some dependent claims (claims 6, 8, and 10) recite using a graphical

“interface” to receive user input. But the Federal Circuit has repeatedly held that adding a generic

“graphical user interface” does not make claims non-abstract or eligible. See, e.g., Chewy, 94 F.4th

at 1364-65; Trading Techs., 921 F.3d at 1093; cxLoyalty, Inc. v. Maritz Holdings Inc., 986 F.3d

1367, 1372-75, 1377 (Fed. Cir. 2021); Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d

1253, 1256, 1258, 1260 (Fed. Cir. 2016).

               Third, the remaining dependent claims (claims 13-21) recite the same limitations

as claims 2-10. The analysis for those claims is the same.

               Therefore, all dependent claims are “substantially similar and linked to the same

abstract idea” as the independent claims, Content Extraction & Transmission LLC v. Wells Fargo

Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014) (citation omitted)—the abstract idea of

retrieving, contextualizing, querying, and responding to cybersecurity threat information. 2



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       For that reason, the Court can find all claims ineligible based on representative claim 1.
See Content Extraction, 776 F.3d at 1348. But Wiz’s claims are ineligible even considered
individually.


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       B.      Alice Step Two: The Claims Add Nothing Inventive to the Abstract Idea

               At Alice step two, the Court must determine whether the claims add “significantly

more” than the abstract idea—an inventive concept that represents a specific improvement in

technology. Chamberlain Grp., Inc. v. Techtronic Indus. Co., 935 F.3d 1341, 1348-49 (Fed. Cir.

2019). Wiz’s ’549 patent claims do not.

               1.      The ’549 Independent Claims Add Nothing Inventive

               The independent claims add nothing inventive. The patent’s purported innovation

is providing context for a user querying a cybersecurity database. See ’549 patent at 1:38-58;

supra at 3. But providing context—something that humans can do mentally—is part of the abstract

idea itself, which “cannot serve as an inventive concept.” Universal Secure, 10 F.4th at 1350; see

also, e.g., Simio, 983 F.3d at 1363 (similar). Indeed, “[i]f a claim's only ‘inventive concept’ is the

application of an abstract idea using conventional and well-understood techniques, the claim has

not been transformed into a patent-eligible application of an abstract idea.” BSG, 899 F.3d at

1290-91. That is the case here.

               Beyond the abstract idea, the claims recite only generic computer components—

LLM, medium/memory, and processor/device—for performing the generic computer functions.

See ’549 patent cls. 1, 11, 12. The specification treats all of those as requiring only known,

conventional, off-the-shelf components. See, e.g., ’549 patent at 16:25-26 (explaining that the

“large language model” can be, “for example, GPT, BERT, and the like”), 10:14-40 (same); id.

at 18:23-28 (can use any generic memory or medium for storing data); id. at 17:59-18:3, 18:43-45

(using “general-purpose microprocessors” or “any other hardware logic components that can

perform calculations” for the claimed steps). As the Federal Circuit recently reiterated, “[w]here,

as here, the specification ‘describes the components and features listed in the claims generically,’

it ‘support[s] the conclusion that these components and features are conventional’” on a motion to


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dismiss. Beteiro, 104 F.4th at 1358 (citation omitted); see also SAP, 898 F.3d at 1168 (claims add

nothing inventive where “the specification makes clear that off-the-shelf computer technology is

usable to carry out the analysis”). Indeed, “merely adding computer functionality to increase the

speed or efficiency of the process does not confer patent eligibility on an otherwise abstract idea.”

PersonalWeb, 8 F.4th at 1319 (“Relying on a computer to perform routine tasks more quickly or

more accurately is insufficient to render a claim patent eligible.”) (citation omitted).

               These are the same “basic functions of a computer” and “purely functional and

generic” components that courts have repeatedly found merely automate abstract ideas in a

“particular technological environment”—which adds nothing inventive. Alice, 573 U.S. at 225-

26.   For example, the Federal Circuit routinely holds that using computers to retrieve,

contextualize, map, or match data; query databases; and perform actions based on the results adds

nothing inventive. See BSG, 899 F.3d at 1291 (providing context information for storing data in

a “specific database structure[]”); Trinity, 72 F.4th at 1366 (retrieving and matching data); Chewy,

94 F.4th at 1366-67 (using database functionality); Intell. Ventures I LLC v. Erie Indem. Co., 850

F.3d 1315, 1327 (Fed. Cir. 2017) (searching database “by executing the query code using the first

XML tag and the first metafile”); Universal Secure, 10 F.4th at 1348-49 (mapping data);

PersonalWeb, 8 F.4th at 1313 (performing actions based on characterizing data); Symantec,

838 F.3d at 1313 (same).

               That is equally true as to the claims’ use of generic artificial intelligence

components, such as LLMs or neutral networks. For example, the Federal Circuit has held that

merely reciting a “software brain” for performing an abstract idea adds nothing inventive. Capital

One, 792 F.3d at 1371 (internal quotations omitted). Similarly, this Court has held that claims

adding generic machine learning, neural networks, and artificial intelligence to be ineligible. See




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Recentive Analytics, Inc. v. Fox Corp., 692 F. Supp. 3d 438, 449 (D. Del. 2023); Hyper Search,

LLC v. Facebook, Inc., C.A. No. 17-1387-CFC-SRF, 2018 WL 6617143, at *10 (D. Del. Dec. 17,

2018).3

               Even when these basic features are viewed “as an ordered combination,” there is

no “specific implementation” or “specific improvement” in computer technology that might

provide an inventive concept. Bascom Glob. Internet Servs., Inc. v. AT&T Mobility, LLC, 827 F.3d

1341, 1348-49 (Fed. Cir. 2016). Collectively, “the computer components of [the claimed] method

‘add nothing ... that is not already present when the steps are considered separately.’” Alice, 573

U.S. at 225 (citation omitted). The claims’ arrangement merely reflects the generic computer

functions for performing the abstract idea and “do[es] not, for example, purport to improve the

functioning of the computer itself.” Id. Indeed, “it is clear, from the claims themselves and the

specification, that these limitations require no improved computer resources [that Wiz] claims to

have invented, just already available computers, with their already available basic functions, to use

as tools in executing the claimed process.” SAP, 898 F.3d at 1169-70. And the claims also add

nothing inventive because they are couched in “result-based functional language” that “does not

sufficiently describe how to achieve these results.” Two-Way Media, 874 F.3d at 1337 (citation

omitted); see supra at 4, 11. Therefore, lacking an inventive concept, the claims are ineligible as

a matter of law.

               2.      The Dependent Claims Add Nothing Inventive



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       See also, e.g., Vehicle Intel. & Safety LLC v. Mercedes-Benz USA, LLC, 635 F. App’x 914,
920 (Fed. Cir. 2015) (claims ineligible despite “using an unspecified ‘expert system’”); Quad City
Pat., LLC v. Zoosk, Inc., 498 F. Supp. 3d 1178, 1184 (N.D. Cal. 2020) (claims ineligible despite
“add[ing] limitations based on artificial intelligence—including prediction of participant behavior
and simulation”); Neochloris, Inc. v. Emerson Process Mgmt. LLLP, 140 F. Supp. 3d 763, 773
(N.D. Ill. 2015) (claims ineligible despite reciting “an artificial neural network module” as that
was no more than “a central processing unit—a basic computer’s brain”).


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               The dependent claims likewise add nothing inventive. As discussed, the claims

primarily recite the type or source of the input or output information. See supra at 13-14; ’549

patent cl. 2 (type of “incident input” information), cl. 3 (source of training information for LLM),

cl. 4 (generating second prompt), cl. 5 (source of training information for LLM), cls. 6-7 (sub-

scenarios), cl. 8 (“additional contextual information”), cls. 9-10 (“cybersecurity finding”); cls. 13-

21 (same limitations as cls. 1-10). But the Federal Circuit has held that reciting the type or source

of information adds nothing inventive. See Elec. Pwr., 830 F.3d at 1355. Apart from that, the

claims recite using a graphical user interface, but just as that does not render the claims non-

abstract at step one, the Federal Circuit has held it also does not provide anything inventive at step

two. See, e.g., Chewy, 94 F.4th at 1364, 1366-68; Capital One, 792 F.3d at 1370; supra at 14.

       C.      There Is No Reason to Delay Finding the Claims Ineligible

               Patent-eligibility “may be, and frequently has been, resolved on a Rule 12(b)(6)”

motion. SAP, 989 F.3d at 1166. That is the proper outcome here, too, as there is no plausible

allegation of inventiveness outside the abstract realm.

               As discussed, the patent itself establishes that the claims provide no technological

improvement in computer technology—like others that the Federal Circuit found ineligible on the

pleadings, see, e.g., Simio, 983 F.3d at 1356; IBM, 50 F.4th at 1378; PersonalWeb, 8 F.4th at 1318,

or as a matter of law, see, e.g., Symantec, 838 F.3d at 1321; BSG, 899 F.3d at 1290-91. As

discussed, the purported advance—providing contextual information for queries to obtain more

relevant cybersecurity information—is part of the abstract idea, which cannot provide any

inventive concept under § 101. See Universal Secure, 10 F.4th at 1347; Simio, 938 F.3d at 1364.

And beyond that, the specification makes clear that the claims require only conventional computer

features, not any improved computer technology. See supra at 3-4. Accordingly, the claims add

nothing inventive as a matter of law.


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               No claim construction could change that conclusion given the patent’s admitted

focus on providing contextual information for querying a database (part of the abstract idea) and

use of generic computer technology. See Sanderling Mgmt. Ltd. v. Snap Inc., 65 F.4th 698, 703-

04 (Fed. Cir. 2023) (“court need not engage in claim construction” where claims are ineligible

under any “plausible construction[]”); Elec. Commc’n Techs., LLC v. ShoppersChoice.com, LLC,

958 F.3d 1178, 1184 (Fed. Cir. 2020) (construction would not “affect the analysis”); Content

Extraction, 776 F.3d at 1349 (claims ineligible even construed “favorable to [patentee]”).

               Wiz’s allegations in its counterclaim does not preclude dismissal. Indeed, Wiz

makes no allegation that the ’549 patent includes any particular technological advance or features

relevant to eligibility. See CC ¶¶ 10, 89-108. To the contrary, Wiz’s allegations show the opposite:

as discussed, Wiz compares its own asserted claims to actions that are performed by humans and

contends that human activity is integral to each limitation in the asserted claims. Supra at 9; CC

¶¶ 89-109.    And, in any event, “no amount of creative pleading could have succeeded in

transforming the claims into patent-eligible subject matter such that [the counterclaim] states a

claim on which relief could be granted.” Beteiro, 104 F.4th at 1358. Therefore, Wiz’s allegations

do not—and cannot—“plausibly allege[]” facts showing eligibility. SAP, 898 F.3d at 1163.

               In rare cases when the Federal Circuit has found fact issues at step two, the

complaints and patents detailed how the claimed features specifically improved computer

technology itself. See Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019);

Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1127-28 (Fed. Cir. 2018).

That is not the case here.

               In sum, Wiz’s ’549 patent itself establishes that the claims do not provide or require

any technological improvement and, instead, are rooted in an abstract concept. The intrinsic record




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is dispositive and “no disputed facts material to the issue of patent eligibility” preclude resolving

the issue at this stage. Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1342 n.4 (Fed. Cir.

2018). The Federal Circuit found similar claims ineligible as a matter of law in cases such as

Symantec, Simio, IBM, and BSG. That is the proper outcome here, too.

VI.    CONCLUSION

               The Court should dismiss Wiz’s Counterclaim Count IV with prejudice.

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                                CERTIFICATE OF SERVICE

               I hereby certify that on July 25, 2024, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

               I further certify that I caused copies of the foregoing document to be served on

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